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       U.S. DISTRICT COURT FOR THE NORTHERN DISTRICT OF ILLINOIS
                       ATTORNEY APPEARANCE FORM

NOTE: In order to appear before this Court an attorney must either be a member in good
standing of this Court’
                      s general bar or be granted leave to appear pro hac vice as provided for
by Local Rules 83.12 through 83.14.

In the Matter of                                                           Case Number: 08 C 2513
Trustees of the Chicago Regional Council of Carpenters Pension
Fund, et al.
v.
Rehab Construction Systems, Inc.

AN APPEARANCE IS HEREBY FILED BY THE UNDERSIGNED AS ATTORNEY FOR:
Rehab Construction Systems, Inc., Defendant




NAME (Type or print)
Todd A. Miller
SIGNATURE (Use electronic signature if the appearance form is filed electronically)
           s/ Todd A. Miller
FIRM
Allocco, Miller & Cahill, P.C.
STREET ADDRESS
3409 N. Paulina Street
CITY/STATE/ZIP
Chicago, Illinois 60657
ID NUMBER (SEE ITEM 3 IN INSTRUCTIONS)                  TELEPHONE NUMBER
6216561                                                 (773) 868-4841

ARE YOU ACTING AS LEAD COUNSEL IN THIS CASE?                         YES               NO


ARE YOU ACTING AS LOCAL COUNSEL IN THIS CASE?                        YES               NO


ARE YOU A MEMBER OF THIS COURT’
                              S TRIAL BAR?                           YES               NO


IF THIS CASE REACHES TRIAL, WILL YOU ACT AS THE TRIAL ATTORNEY?                        YES      NO


IF THIS IS A CRIMINAL CASE, CHECK THE BOX BELOW THAT DESCRIBES YOUR STATUS.

RETAINED COUNSEL                  APPOINTED COUNSEL
